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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES -
                                      GENERAL

   Case No.       CV 20-03841-JWH (PJWx)                                   Date   November 5, 2021
   Title     Vivian Del Rosario v. Marriott International, Inc., et al.


   Present: The Honorable        JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
                 Irene Vazquez                                            Anne Kielwasser
                  Deputy Clerk                                            Court Reporter
     Attorney(s) Present for Plaintiff(s):                    Attorney(s) Present for Defendant(s):
          Nazo Leon Koulloukian                                        Gregory S. Glazer
                                                                       Alia Louisa Chaib

 Proceedings:        VIDEO HEARING RE: PLAINTIFF’S MOTION TO
                     REMAND [ECF No. 28] & DEFENDANTS’ MOTION TO
                     DISMISS DEFENDANTS JOANNE JOFFE AND CALLI
                     TIDWELL FROM FIRST AMENDED COMPLAINT [ECF
                     No. 45]

        Counsel state their appearances. The Court confers with counsel and hears
  oral argument. For the reasons stated on the record, the Court hereby ORDERS as
  follows:

     1.  The motion to remand of Plaintiff Vivian Del Rosario [ECF No. 28] is
 DENIED.

        2.    The motion to dismiss defendants Joanne Joffe and Calli Tidwell from
 the First Amended Complaint of Defendants Courtyard Management Corporation,
 Marriott International, Inc., Calli Tidwell, and Joanne Joffe [ECF No. 45] is
 GRANTED. Specifically, the Court rules on the claims as follows:

                 a.     with respect to the fourth claim for relief against Defendant
           Joanne Joffe and Defendant Calli Tidwell, Defendants’ motion is GRANTED
           without leave to amend;
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             b.     with respect to the eighth claim for relief against Defendant
       Joanne Joffe and Defendant Calli Tidwell, Defendants’ motion is GRANTED
       without leave to amend.

             c.    Defendants Joffe and Tidwell are hereby DISMISSED from this
       action. The Clerk is hereby DIRECTED to update the docket.

       3.     The parties are DIRECTED to meet and confer and to file a Joint
 Report, no later than November 19, 2021, providing the Court with their proposed
 updated case schedule. If the parties cannot agree on a schedule, then the Joint
 Status Report shall provide the Court with (a) the parties’ respective proposed
 schedules; (b) each party’s justification therefor; and (c) each party’s objections to
 the other party’s proposed schedule.

       IT IS SO ORDERED.




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